Case ee eee Document 101 Filed ‘oe Page 1 of 18

SAO 440 (Rev. 8/01) Summons in a Civil Action
UNITED STATES DISTRICT COURT.
SOUTHERN District of _MISSISSIPPI

ESTATE OF JESSIE LEE WILLIAMS, JR.
SUMMONS IN A CIVIL ACTION
Vv.
HARRISON COUNTY, MISSISSIPPI, ETAL. | ,
_-CASENUMBER: —_1:06cv196LG-RHW

‘TO: (Name and address of Defendant)

“HARRISON COUNTY c/o CONNIE ROCKO, PRESIDENT
Harrison County Board of Supervisors

1801 23"

Gulfport, MS 39501

YOU ARE HEREBY SUMMONED and required to serve on PLAINTIFF’S ATTORNEY (name and address)

a Michael W. Crosby (MS Bar No. 7888)
2111 25" Avenue
Gulfport, Mississippi 39501

telephone: 228-863-0313/fax: 228-865-0337

20

_an answer to the complaint which is served on you with this summons, within days after service
of this summons on you, exclusive of the day of service. Ifyou fail to do so, judgment by default will be taken against you
for the relief demanded in the complaint. Any answer that you serve on the parties to this action must. be filed with the
Clerk of this Court within a reasonable period of time after service.

DATE

(By} DEPUTY CLERKUU a SF cs
in et :

Case 1:06-cv-00196,.G-JMR Document101_ Filed “oe Page 2 of 18

- AO 440. (Rev. 8/61) Summons in a Civil Action

UNITED STATES DISTRICT CouRT
SOUTHERN District of MISSISSIPPI

. ESTATE OF JESSIE LEE WILLIAMS, JR.

SUMMONS IN A CIVIL ACTION
_V.
HARRISON COUNTY, MISSISSIPPI, ET AL

CASE NUMBER: 1:06cv196LG-RHW

TO: (Name and address of Defendant)...

‘GEORGE PAYNE"
~ » SHERIFF OF HARRISON COUNTY, MS
10451 LARKIN I. SMITH ROAD
’ GULFPORT, MS-39503

YOU ARE HEREBY SUMMONED and required to serve on PLAINTIFF’S ATTORNEY (name and address)

Michael W. Crosby (MS Bar No. No. 7888)
2111 25" Avenue

Gulfport, Mississippi 39501

telephone: 228-863-051 5/fax: 228-865-0337

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DATE

Case 1:06-cv-00196-LG-JMR | Document101 . Filed ‘eo Page 3 of 18

AO 440 (Rev. 8/01) Summens in a Civil Action

UNITED STATES DISTRICT Court

SOUTHERN District of MISSISSIPPI

ESTATE OF JESSIE LEE WILLIAMS, JR.
SUMMONS IN A CIVIL ACTION
V.

HARRISON COUNTY, MISSISSIPPI, ET AL. oe,
CASE NUMBER:  1:06cv196_LLG-RHW

= TO: qtame and address of Defendant) -
HARRISON COUNTY SHERIFF 1S DEPARTMENT

c/o Sheriff George Payne . -_ - e/o Sheriff-George Payne vo

Harrison County Adult Detention Facility Harrison County 1“ Judicial Courthouse |
10451 Larkin I. Smith Drive oo. 1801 23" Avenue

Gulfport, MS 39503 | Gulfport, MS 39501

YOU ARE HEREBY SUMMONED a and 3 required to serve on PLAINTIFF'S ATTORNEY (name and adress)

Michael W. Crosby (MS Bar No. 7888)
2111 25" Avenue

Gulfport, Mississippi 39501
-. telephone: 228-863-0313/fax: 228-865-0337

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* Clerk of this Court within a reasonable period of time after service. .

Case 1:06-cv-00196-LG-JMR Document 101 Filed oe” Page 4 of 18

' & AO 440 (Rev. 8/01) Summons in a Civil Action

UNITED STATES DISTRICT COURT _

SOUTHERN District of . MISSISSIPPI

ESTATE OF JESSIE LEE WILLIAMS, JR. a
. SUMMONS IN A CIVIL ACTION

Ve

‘HARRISON COUNTY, MISSISSIPPI, ET AL.
CASE NUMBER: — 1:06cv196LLG-RHW

TO: (Name and address of Defendant)

CITY OF GULFPORT
MAYOR BRENT WARR
2309 15th Street
Gulfport, MS 39501

YOU ARE HEREBY SUMMONED and required to serve on PLAINTIFF’S ATTORNEY (name and address)

Michael W. “Crosby (MS Bar No. 7888)
2111 25" Avenue ©

Gulfport, Mississippi 39501

telephone: 228-863-0313/fax: 228-865-0337

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Case ee Document 101 _—_—~ Filed ‘oe Page 5 of 18

®& AO 440 (Rev. 8/01) Summons in a Civil Action

UNITED STATES DISTRICT COURT
‘SOUTHERN District of MISSISSIPPI

ESTATE OF JESSIE LEE WILLIAMS, JR.

SUMMONS IN A: CIVIL ACTION
Vv.
HARRISON COUNTY, MISSISSIPPI, ET AL

CASE NUMBER: 1:06cv196LG-RHW

TO: (Name and address of Defendant)

Health Assurance, LLC
‘Corporate Office. ~

Methodist Medical Center North

5903 Ridgewood Road, Suite 320

Jackson, MS 39211

YOU ARE HEREBY SUMMONED and required to serve on PLAINTIFF’S ATTORNEY (name and address)

Michael W. Crosby (MS Bar No. 7888)
2111 25" Avenue

Gulfport, Mississippi 39501 - Oe
telephone: 228-863-0313/fax: 228-865-0337 .

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40 440 (Rev. 8/01) Summons in 2 Civil Action

UNITED STATES DISTRICT COURT.

~ SOUTHERN - Districtof. _- MISSISSIPPI

ESTATE OF JESSIE LEE WILLIAMS, JR.
. - SUMMONS IN A CIVIL ACTION
V.

’- HARRISON COUNTY, MISSISSIPPI, ET AL. .
CASENUMBER: — 4:06ev196LG-RHW

TO: Qieme and address of Defendant).
AMERICAN CORRECTIONAL ASSOCIATION

C/O Executive Director James A. Goudles, dr. OR President: Gwendolyn Cc. Chunn

4380 Forbes Boulevard , 4380 Forbes Boulevard
- Lanham, Maryland 20706-4322 Lanham, Maryland 20706-4322

YOU ARE HEREBY SUMMONED and nd required to serve on PLAINTIFE’S ATTORNEY (name and address)

Michael w. Crosby cs: Bar No. 7888)
2111 25" Avenue

Gulfport, Mississippi 39501

telephone: 228-863-0313/fax: 228-865-0337

- an answer to the complaint which is served on you with this summons, within 20 days after service
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(By) DEPUTY CLERK... G

Case ees Document 101 Filed ‘oe Page 7 of 18

& AO 440 (Rev, 8/01} Summons in-a Civil Action

UNITED STATES DISTRICT COURT

“SGUTHERN . District of MISSISSIPPI

"ESTATE OF JESSIE LEE WILLIAMS, JR. DO
. me SUMMONS IN A CIVIL ACTION

V.

HARRISON COUNTY, MISSISSIPPI, ET AL. -

CASE NUMBER: 1:06cv196LG-RHW

TO: Game and address of Defendant)

‘OFFICER KELLY KNIGHT
-2220 15TH STREET ~ .
GULFPORT, MS 39502 -

- YOU ARE: HEREBY SUMMONED and \ required to. serve on. PLAINTIFF 8 ATTORNEY (name and ‘ildreas)

Michael W: Crosby (Ms Bar No. + 7888)
2111 25" Avenue —

Gulfport, Mississippi-39501 .

_ telephone: “228-863-0313 /fax: 228-865-0337

/ an answer-to the complaint whichis served on you with this summons, swithin 20 _ "days after service .
of this summons on you, exclusive of the day of service.. If you Tail to do so, judgment by default will be taken against you
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Case 16-cv- 90190 46 IMR ‘Document 101 Filed e- Page 8 of 18

&A0 440 (Rev. 8/01) Summons ina Civil Action

UNITED STATES DISTRICT CourT.

SOUTHERN District of : MISSISSIPPI

"ESTATE OF JESSIE LEE WILLIAMS, JR. .

SUMMONS IN A CIVIL ACTION

HARRISON COUNTY, MISSISSIPPI, ET AL a
- CASENUMBER: 1:06cv196LG-RHW.

. TO: (Name and address of Defendant)

* Captain Phil Taylor’ ~

":. Training Director
Harrison County Adult. Detention Center
Harrison County Sheriffs Department
10451 Larkin !. Smith Road
Gulfport, MS 39503

YOU ARE HEREBY SUMMONED and required to serve on PLAINTIFF” S ATTORNEY (name arid address)

Michael W. Crosby (Ms Bar No. 7888)
2111 25" Avenue

Gulfport, Mississippi 39501
telephone: 228-863-0313/fax: 228-865-0337

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Case mero Document 101 _ Filed ‘oe Page 9 of 18

& AO 440 (Rev. 8/01) Summons in a Civil Action

UNITED STATES DISTRICT COURT
SOUTHERN District of “MISSISSIPPI

ESTATE OF JESSIE LEE WILLIAMS, JR.

SUMMONS IN A CIVIL ACTION
Vv. 2
HARRISON COUNTY, MISSISSIPPI, ET AL

CASE NUMBER: 1:06ev196LG-RHW

TO: (Name and address of Defendant)

MAJOR DIANNE GASTON-RILEY
DIRECTOR OF CORRECTIONS |
HARRISON COUNTY ADULT DETENTION FACILITY.
10451 LARKIN !. SMITH ROAD
’ GULFPORT, MS 39503

~ YOU ARE HEREBY SUMMONED and required to serve on PLAINTIFF’S ATTORNEY (name and address)

Michael W. Crosby (MS Bar No. 7388)

- 2111 25% Avenue
‘Gulfport, Mississippi 39501.
telephone: 228-863-0313/fax: 228-865-0337

_ an answer to the complaint which is served on you with this summons, within 20 days after service
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Case ese Document 101 ese Page 10 of 18

® AO 440. (Rev. 8/01) Summons in a Civil Action.

UNITED STATES DISTRICT COURT
SOUTHERN District of MISSISSIPPI

ESTATE OF JESSIE LEE WILLIAMS, JR.

_ SUMMONS IN A CIVIL ACTION
V.
HARRISON, COUNTY, MISSISSIPPI, ETAL .

CASE NUMBER: 1:06ev196LG-RHW

TO: ame and address of Defendant)

CAPTAIN RICK GASTON ~ pop mas eee ee es
- BOOKING SUPERVISOR .

HARRISON COUNTY ADULT DETENTION FACILITY

10451 LARKIN |. SMITH ROAD =

_GULFPORT, MS 39503

‘you ARE HEREBY SUMMONED and required to serve on PLAINTIFF’S ATTORNEY (name and address)

Michael W. ‘Crosby (MS Bar No. 0, 7888)
_ 2411.25" Avenue.
- Gulfport, Mississippi 39501
telephone: 228-863-0313/fax: 228-865-0337

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&A0 440. (Rev. 8/01) Summons in a Civil Action..

UNITED STATES DISTRICT COURT
SOUTHERN District of 9 __ MISSISSIPPI

ESTATE.OF JESSIE LEE WILLIAMS, JR.

SUMMONS IN A CIVIL ACTION
V.

HARRISON COUNTY, MISSISSIPPI, ET AL - a
CASE NUMBER: 1:06cv196LG-RHW

. TO: (Name and address of Defendant)

* Officer Leah Richardson’ :
Harrison County Sheriff's Department
Harrison County Adult Detention Center

'~ °0451 Larkin I. Smith Road ~
- . Gulfport, MS 39503 _

YOU ARE HEREBY SUMMONED and required to serve on PLAINTIFF’S ATTORNEY (name and address)

Michael W. Crosby (MS Bar No. 7888) -
2111 25" Avenue |

Gulfport, Mississippi 39501"
telephone: 228-863-0313/fax: 228-865-0337

an answer to the complaint which is served on you with this summons, within 20 _days after service
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Case 1:06-cv-00196-LG-JMR Document101_ Filed oe Page 12 of 18

@ AO 440 (Rev. 8/01) Summons in a Civil Action

UNITED STATES DISTRICT COURT

SOUTHERN : District of MISSISSIPPI

ESTATE OF JESSIE LEE WILLIAMS, JR.
: SUMMONS IN A CIVIL ACTION

Vv.

HARRISON COUNTY, MISSISSIPPI, ET AL. oe
_ CASE NUMBER: — 1:06cv1961LG-RHW.

TO: (Name and address of Defendant)

Leo DeGeorge
Harrison County Sheriff's Department

_ Harrison County Adult Detention Facility
10451 Larkin L Smith Drive, Gulfport, MS 39501 _

YOU ARE HEREBY SUMMONED and required to serve on PLAINTIFF'S ATTORNEY (name and address)

Michael Ww. Crosby (MS Bar No. 7888)
2411 25" Avenue

Gulfport, Mississippi 39501

telephone: 228-863-0313/fax: 228-865-0337

 . an answer to the complaint which is served on you with this summons, within _20- days after service
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Case “se Document 101 Filed e”” Page 13 of 18

AO 440 (Rev. 8/01) Summons in a Civil Action

UNITED STATES DISTRICT COURT

SOUTHERN District of MISSISSIPPI

ESTATE OF JESSIE LEE WILLIAMS, JR.

- SUMMONS IN A CIVIL ACTION .
. V. :
HARRISON COUNTY, MISISSIPPI, ET AL. .

CASE NUMBER: 1:06ev196LG-RHW

TO: (Name and address of Defendant)

EVAN HUBBARD ~~
Harrison County Sheriffs Deputy
“Harrison County Adult Detention Center
40451 Larkin Smith Road.
Gulfport, MS 39503

YOU ARE HEREBY SUMMONED and required to serve on PLAINTIFF'S ATTORNEY (name and adress)

Michael W. Crosby (MS Bar No. 7888)
2111.25" Avenue so
Gulfport, Mississippi 39501 - .
‘telephone: 228-863-0313/fax: 228-865-0337

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_ DATE

Case reese Document 101 __—‘ Filed “eo Page 14 of 18

AO 440 (Rev, Bol) Summons ir ina Civil Action

UNITED STATES DISTRICT COURT
SOUTHERN District of

- MISSISSIPPI

"> ESTATE OF JESSIE LEE WILLIAMS, JR. Pe! oe
SUMMONS IN A CIVIL ACTION.
Vo
HARRISON COUNTY, MISSISSIPPI, ‘ET AL.

CASENUMBER: 1:06ev196LG-RHW

TO: Qiame and address of Defendant)
- PAT OLSON
Medical Administrator
‘Harrison County Adult Detention F acility

10451 Larkin I. Smith Drive
Biloxi, MS 39503 - .

. ¥OU ARE HEREBY SUMMONED and required to serve on PLAINTIFF’S ATTORNEY (name and address)

” Michael W. Crosby: (MS Bar No. 1. 7888) -
2111 25 Avenue

Gulfport, Mississippi 39501

_felephone: 228-863- 0313/fax: 228-865-0337

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" Clerk c of this Court within a reasonable period of time adter service,

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Case egg Document 101 Filed 04/97/06 = Page 15 of 18

SAO 446 } (Rev. g/01) Summons i in a Civil Action

UNITED STATES DISTRICT CouRT a
SOUTHERN ‘District of ___ MISSISSIPPI

ESTATE OF JESSIE LEE WILLIAMS, JR. ee os
a SUMMONS IN A CIVIL ACTION
v. oe :
"HARRISON COUNTY, MISSISSIPPI, ET AL. oS oe oo
CASENUMBER: 1:06ev196LG-RHW

- TO: (Name and adres of Defendant) - vp a me
_ REGINA RHODES.
Harrison County: Sheriff's Department
Harrison County Adult Detention Facility

© © 10451 Larkin L Smith: Drive
Gulfport MS 39503.

‘YOU ARE HEREBY. SUMMONED and required to serve on PLAINTIFF °S ATTORNEY (name. and address)

Michael W.. Crosby. (MS Bar No. - 7888)
211125" Avenue -~

Gulfport, Mississippi 39501

telephone 228-863-0313/fax: 228-865-0337

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-anranswer.to the complaint which is served on you with this simmons, within _ days.after service _
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(By) DEPUTY CLERK OS

Case HOG ew-00196- IM Document 101 __—‘ Filed “eo Page 16 of 18

‘AO 440 (Rev. 8/01) Summons in a Civil Action

UNITED STATES DISTRICT COURT |

SOUTHERN . District of - MISSISSIPPI

ESTATE OF JESSIE LEE WILLIAMS, JR.

SUMMONS IN A CIVIL ACTION
“Vv.

HARRISON COUNTY, MISISSIPPI, ET AL.

CASE NUMBER: 1:06cv196LG-RHW_

TO: QName and address of Defendant)

MORGAN THOMPSON. -:
Harrison County Sheriffs Deputy
~~ “Harrison County Adult Detention Center
10457 Larkin Smith Road
Gulfport, MS 39503

YOU ARE HEREBY SUMMONED and required to serve on PLAINTIFF’S ATTORNEY (name and adress)

Michael W. ‘Crosby (MS Bar No. TESS) .
2111 25" Avenue
-Guifport, Mississippi 39501 -

telephone: 228-863-0313 /fax: 228-865-0337

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~ Case 1:06-cv-00196- }

LG-JMR Document 101 Filed “eo Page 17 of 18

AO 440 (Rev. B01) Summons in a Civil Action

UNITED STATES DISTRICT CouRT

SOUTHERN District of . _MISSISSIPP!

ESTATE OF JESSIE LEE WILLIAMS, JR. a
SUMMONS IN A CIVIL ACTION
V.

* HARRISON COUNTY, MISSISSIPPI, ET AL.
Oo CASE NUMBER: 1:06cv196LG-RHW

TO: ame md address of Defeadant)

JEREMY MOONEY HAM
Harrison County Sheriff's. Department |
Harrison County Adult Detention Facility
10451 Larkin L. Smith Drive

Gulfport MS 39503.

YOU ARE HEREBY SUMMONED. and. required to: serve on » PLAINTIFF 8 ATTORNEY (name and address) ”

Michael W. Crosby (MS Bar No. » 7888)
211125" Avenue —

Gulfport, Mississippi. 39501

telephone: 228-863-0313 /fax: 228-865-0337

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AQ 440 (Rev. 8/01) Summons in a Civil Action

UNITED STATES DISTRICT COURT —-

’ SOUTHERN _ District of : - MISSISSIPPI

ESTATE OF JESSIE LEE WILLIAMS, JR.

SUMMONS IN A CIVIL ACTION
Vv.

HARRISON COUNTY, MISSISSIPPI, ET AL.
. CASENUMBER:  1:06cv196LG-RHW

TO: (Name and address of Defendant) — - : a
. RYAN TEEL -
‘17610 Lakeview Rd-
Saucier, MS 39574-7802

- YOU ARE HEREBY SUMMONED and required to serve on PLAINTIFF’S ATTORNEY: (name sind ‘addrest) -
Michael W. Crosby (MS Bar No. 7888).
211125" Avenue me
_ Gulfport, Mississippi 39501 o
- telephone: 228-863-0313/fax: 228-865-0337

an answer to the complaint which is served on you with this summons, within 20. days after service | .

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- Clerk of this Court within’a reasonable period of time after service. os -

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